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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                      Plaintiff,

                 v.                     Civil Action No. 1:20-cv-03590 (JEB)

FACEBOOK, INC.

                      Defendant.


               REPLY MEMORANDUM IN SUPPORT OF
            MOTION TO COMPEL A RULE 26(f) CONFERENCE
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        Facebook inaccurately suggests that the Local Rules constrain this Court’s discretion to

control the timing of conferences between the parties. Facebook’s proposition is simply wrong:

it is incorrect that the “[Local] Rules dictate that no Rule 26(f) conference can be required before

the Court has ruled on motions to dismiss and Defendant has answered.” Defendant’s

Opposition Memorandum, ECF No. 66 (“Opp.”) at 5 (emphasis added). In truth, this Court has

broad discretion to require a conference, as explained in the FTC’s opening Memorandum. ECF

No. 63-1 (“Mem.”) at 2-3. Here, the Court should exercise its discretion to order the parties to

confer, because doing so will increase efficiency, without imposing avoidable costs. Id. at 4-8.

        Facebook’s Opposition provides no authority or reasoned argument suggesting that the

Local Rules limit this Court’s discretion. To the contrary, Facebook’s own authority confirms

that parties’ pre-Answer conferences are not foreclosed by the Local Rules: litigants in this

District in fact engage in pre-Answer Rule 26 conferences, as the parties did in Committee to

Defend the President v. FEC. See Opp. at 6; see also No. 1:18-cv-00888-RDM (D.D.C. July 11,

2018), ECF No. 13 (Proposed Scheduling Order and Discovery Plan). The fact that in certain

cases courts in this District have exercised their discretion to deny requests for a pre-Answer

Rule 26 conference neither supports Facebook’s assertion that the Court lacks discretion to

require one here, nor suggests that pre-Answer conferences are universally inefficient.

   I.      Facebook’s Opposition Disregards the Narrowly Tailored Relief Plaintiffs Seek

        Facebook’s arguments against a conference ignore the actual relief the FTC and the State

Plaintiffs seek. Facebook observes that conducting discovery might be inefficient while a motion

to dismiss is pending, Opp. at 5-6, but Plaintiffs simply seek to conduct discussions to plan

efficiently for discovery, and to submit proposals to the Court regarding a start date for discovery

and other relevant matters. Mem. at 1, 9. Facebook inexplicably labels this request



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“implausibl[e],” Opp. at 7, but this is exactly what the Plaintiffs’ Proposed Order provides: if the

Court issues the requested Order, discovery will not commence. See ECF No. 63-4 (Proposed

Order).

          And Facebook is wrong that “the sole purpose of the Rule 26(f) conference is to begin the

discovery process,” Opp. at 7: to the contrary, the purpose of the conference is to develop a

discovery plan. LCvR 16.3(a)(3); see also 6 Moore’s Federal Practice § 26.143 (“The

requirement that the parties confer to develop a discovery plan may be the single most important

provision in the discovery architecture of Rule 26. It is simple in its demand but far-reaching in

its potential for smoothing the flow of discovery, and courts should be rigorous in enforcing the

conference requirement.”) (citing Fed. R. Civ. P. 26(f) advisory committee’s note (2000)

(addition of conference requirement “one of the most successful changes made in the 1993

amendments”)). Fed. R. Civ. P. 26(a)(1)(C) specifically provides that a Rule 26 conference need

not trigger initial disclosures, and the Federal Rules unquestionably preserve the Court’s broad

discretion to control the timing of all discovery, including its commencement.

          Facebook likewise ignores the relief Plaintiffs request to the extent that Facebook

suggests that Local Rule 16.3(b) provides Facebook with an “exemption,” Opp. at 5, from a Rule

26 conference. Local Rule 16.3(b) relaxes the scheduling order timing provisions of Fed. R.

Civ. P. 16(b), but this is irrelevant to the relief requested by the government plaintiffs. The

Court may grant the relief requested by Plaintiffs without determining at this moment whether to

issue a scheduling order or hold a scheduling conference, and would retain the discretion to

assess such questions after the parties have met and conferred and submitted proposals to the

Court. See ECF No. 63-4 (Proposed Order); LCvR 16.3(b). Moreover, the Federal Rules

expressly provide that local rules may exempt actions from scheduling order timing



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requirements, Fed. R. Civ. P. 16(b), but do not provide authorization “to exempt cases by local

rule from the discovery conference requirement.” COMMENT TO LCvR 16.3(b) (“The Fed. R.

Civ. P. 26(f) removes the authority to exempt cases by local rule from the discovery conference

requirement.”); see also 6 Moore’s Federal Practice § 26.141 (“The 2000 amendments to Rule

26(f) eliminated the authority of the district courts to adopt a local rule exempting cases from the

discovery conference requirement.”). Thus, while Local Rule 16.3(b) impacts the timing of

conferences between the parties, Facebook errs to the extent it suggests this District’s local rules

provide an “exemption.” Opp. at 5.

   II.      Facebook Provides No Justification for Postponing the Conference

         Plaintiffs’ requested conference will increase judicial efficiency and promote prompt

engagement with interested third parties and with the Klein plaintiffs, thus advancing the “just,

speedy, and inexpensive determination” of this proceeding, Fed. R. Civ. P. 1, and the public

interest in promptly resolving government antitrust actions. United States v. Dentsply Int’l, Inc.,

190 F.R.D. 140, 145 (D. Del. 1999) (acknowledging congressional recognition of the “special

urgency” of antitrust enforcement actions brought by the United States); see Mem. at 4-6.

         Facebook fails to provide countervailing reasons suggesting that the Court should refrain

from exercising its discretion to order a conference. Facebook identifies no material inefficiency

that might result from a prompt conference. Facebook protests that they have not yet

“scheduled” a Rule 26 conference with the Klein plaintiffs, see Opp. at 8, but this does not

suggest that a conference in this case will be inefficient. A conference in advance of, or at the

very least close in time to, the Klein Rule 26 conference will increase judicial efficiency by

ensuring that the government plaintiffs and Klein parties can propose discovery protocols and

other case management orders to this Court and the Klein court that take into consideration the



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related aspects of the respective cases. Facebook claims that discovery has not begun in Klein,

but the Klein court denied Facebook’s motion to stay discovery and ordered Facebook to produce

a substantial set of documents by May 2, 2021, see ECF No. 63-2 at 1, and to facilitate

Facebook’s compliance with that order an interim evidentiary order and a protective order have

been entered. See Klein v. Facebook, Inc., 20-cv-08570-LHK, ECF Nos. 91 (Stipulated

Protective Order) (May 3, 2021), 92 (Stipulated Interim Federal Rules of Evidence 502(d)

Clawback Order) (May 3, 2021). All parties’ interests will be served by cooperation on such

protocols, including but not limited to any modifications to interim orders entered in the Klein

litigation.

        Such cooperation with the Klein plaintiffs will be required even if the Court credits

Facebook’s unsupported claim that discovery in Klein will “focus first on class certification.”

Opp. at 8. Facebook provides no basis for this assertion, as the Klein court rejected its effort to

bifurcate discovery. ECF No. 63-2 at 1 (“The Court DENIES Facebook’s request to stay

discovery and DENIES Facebook’s request to bifurcate discovery.”); compare ECF No. 63-3 at

23 (Facebook’s bifurcation proposal). Moreover, Facebook provides no reason to believe that

the Klein parties can delay merits discovery while adhering to the Klein trial schedule of March

2023. If Facebook believes such a schedule is realistic, then prompt cooperation between all

parties in both matters is clearly necessary: while the government plaintiffs believe that a trial

date prior to March 2023 is practicable, they anticipate it will require a reasonably timely start

for merits discovery.

        Finally, Facebook argues that the Klein trial date might change, Opp. at 7-9, but this is

both speculative and irrelevant to the fact that efficient management of the government cases and

Klein suit will require cooperation on a number of overlapping pre-trial discovery issues,



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including but not limited to a Protective Order. Moreover, it is not well taken for Facebook to

resist progress in this Court because the government plaintiffs might be able to eventually “assert

the primacy of their cases” and seek a delay in the Klein class action. Opp. at 9. The

government plaintiffs have no desire to be used as an obstacle to progress in matters pending in

other district courts,1 and there is no guarantee that even if the government plaintiffs made such

an effort it would succeed. See Fed. R. Civ. P. 16(b)(4) (“A schedule may be modified only for

good cause and with the judge’s consent.”). Thus, while Facebook suggests that the Court

should countenance needless delay now because the Klein Scheduling Order might be set aside

later, the Court should reach the opposite conclusion and require a Rule 26 conference now to

minimize the chances that the government cases will interfere with cases pending in other

districts.

                                         CONCLUSION

        Facebook provides no reason that its refusal to engage with the government plaintiffs

increases efficiency; it simply insists that it does not desire to do so. Facebook’s insistence

should not persuade the Court to refrain from exercising its discretion to require the conference

requested by the FTC and the State Plaintiffs. It undermines judicial efficiency and ill-serves the

public interest for litigants to cooperate in case management planning only when compelled to do

so by an express rule. This Court has broad discretion to increase efficiency by granting the

relief the government plaintiffs request, and should exercise it here.




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  The Klein court has already rejected one of Facebook’s efforts to use the government cases as
an excuse to delay progress. See No. ECF 63-2 at 1 (rejecting Facebook’s request, ECF No. 63-3
at 23-26, to stay discovery until “the motions to dismiss the government cases are resolved”).
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                                          Respectfully submitted,

Dated: May 10, 2021                       /s/ Daniel Matheson
                                          Daniel Matheson (D.C. Bar 502490)
                                          Patricia Galvan
                                          Krisha Cerilli (D.C. Bar 983281)
                                          Robert Zuver (D.C. Bar 987216)
                                          Maria Dimoscato (D.C. Bar 489743)
                                          Eric Cochran (D.C. Bar 981148)
                                          Henry Hauser (D.C. Bar 1614882)
                                          Mitchell London (D.C. Bar 1029408)
                                          Owen Masters (D.C. Bar 242139)
                                          Michael Mikawa
                                          Noel Miller (D.C. Bar 1026068)
                                          David Owyang
                                          Mark Silvia
                                          Michael Smith (D.C. Bar 996738)
                                          Rebecca Weinstein
                                          Sylvia Zhang

                                          Federal Trade Commission
                                          Bureau of Competition
                                          400 Seventh Street, S.W.
                                          Washington, D.C. 20024
                                          Telephone: (202) 326-2075
                                          Email: dmatheson@ftc.gov

                                          Attorneys for Plaintiff
                                          Federal Trade Commission




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